            Case 1:21-cr-00674-GHW Document 9 Filed 11/12/21 Page 1 of 1



UNITED STATES DISTRICT COURT                                               USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                              DOCUMENT
 ------------------------------------------------------------- X           ELECTRONICALLY FILED
                                                               :           DOC #:
 UNITED STATES OF AMERICA,                                     :           DATE FILED: 11/12/2021
                                                               :
                                                               :
                              -v-                              :
                                                               :             1:21-cr-674-GHW
                                                               :
 MAURICE HICKS,                                                :                ORDER
                                                               :
                                               Defendant. :
 ------------------------------------------------------------- X

GREGORY H. WOODS, United States District Judge:

         A proceeding is scheduled in this matter on November 16, 2021 at 10:00 a.m. in Courtroom

12C, Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street, New York, New York

10007.

         SO ORDERED.

Dated: November 12, 2021
       New York, New York                                          __________________________________
                                                                          GREGORY H. WOODS
                                                                         United States District Judge
